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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X
                                                          :                            11/7/2017
NEELAM UPPAL,                                             :
                                                          :
                                         Plaintiff,       :
                                                          :              16-CV-3038 (VSB)
                           -v-                            :
                                                          :                  ORDER
NEW YORK STATE DEPARTMENT OF                              :
HEALTH, et al.,                                           :
                                         Defendants. :
                                                          :
--------------------------------------------------------- X

VERNON S. BRODERICK, United States District Judge:

        I am in receipt of Plaintiff’s motion for leave to amend the complaint, (Doc. 47), and

application to proceed without prepaying fees or costs, (Doc. 50). Accordingly, it is hereby

        ORDERED that, on or before November 30, 2017, Plaintiff shall submit either a copy of

the proposed amended complaint, or a detailed letter sufficiently explaining how any proposed

amendments to the operative complaint would alleviate the deficiencies identified by Defendants

in their motion to dismiss, (Doc. 38).

        IT IS FURTHER ORDERED that leave to proceed in this Court without prepayment of

fees is authorized. 28 U.S.C. § 1915.

        The Clerk’s Office is respectfully directed to mail a copy of this Order to the pro se

Plaintiff.

SO ORDERED.

 Dated:       November 6, 2017
              New York, New York                              ________________________________
                                                              VERNON S. BRODERICK
                                                              United States District Judge
